          Case 2:19-cv-01708-RAJ-BAT Document 51 Filed 10/25/21 Page 1 of 2



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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   ANTHONY BJORNSTAD,                                  Case No. 2:19-cv-1708-RAJ-BAT
10                      Plaintiff,                       ORDER GRANTING FOURTH
                                                         STIPULATED MOTION TO AMEND
11   v.                                                  PRETRIAL SCHEDULE
12   ETHICON ENDO-SURGERY, INC.; and
     ETHICON ENDO-SURGERY, LLC,
13
                        Defendants.
14

15          Plaintiff Anthony Bjornstad, Defendant Ethicon Endo-Surgery, Inc. and Defendant

16   Ethicon Endo-Surgery, LLC stipulate to amend the order setting the pretrial schedule

17   [Dkt. 50]. The parties agree the additional time requested is necessary to pursue possible

18   settlement and, if necessary, properly prepare the case for trial. Id.

19          Based on the parties’ stipulation and for good cause shown it is ORDERED that the

20   parties’ motion [Dkt. 50] is GRANTED and the Amended Pretrial Schedule is as follows:

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      ORDER GRANTING FOURTH STIPULATED MOTION
      TO AMEND PRETRIAL SCHEDULE - 1
     No. 2:19-cv-01708-RAJ-BAT
        Case 2:19-cv-01708-RAJ-BAT Document 51 Filed 10/25/21 Page 2 of 2



 1
      Event                                                                   Date
 2
      Disclosure of expert testimony under FRCP 26(a)(2)                   12/08/2021
 3
      Disclosure of rebuttal expert testimony under FRCP 26(a)(2)          01/14/2022
 4
      Dispositive motions deadline                                         02/15/2022
 5
      Mediation deadline                                                   03/15/2022
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              Dated this 25th day of October, 2021.
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                                                       A
                                                       BRIAN A. TSUCHIDA
                                                       United States Magistrate Judge
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      ORDER GRANTING FOURTH STIPULATED MOTION
      TO AMEND PRETRIAL SCHEDULE - 2
     No. 2:19-cv-01708-RAJ-BAT
